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4
     Attorneys for Plaintiff
5

6
                               IN THE UNITED STATES DISTRICT COURT
7
             NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO DIVISION
8

9    APRIL COYLE,                                      Case No.: 3:16-CV-05674-WHA
10                                                     STIPULATION TO DISMISS DEFENDANT
                               Plaintiff,              CAPITAL ONE, NATIONAL ASSOCIATION;
11                                                     PROPOSED ORDER
             v.
12

13
      EXPERIAN INFORMATION
14    SOLUTIONS, INC.; et. al.,
15

16
                               Defendants.
17

18

19

20

21
     TO THE COURT, CLERK OF COURT, AND ALL PARTIES:

22           IT IS HEREBY STIPULATED by and between plaintiff April Coyle and defendant

23   Capital One, National Association, that Capital One, National Association be dismissed from this

24   action with prejudice pursuant to Federal Rules of Civil Procedure, section 41(a)(2), and that

25   each party shall bear its own attorneys’ fees and costs.
26   //
27   //
28

          STIPULATION TO DISMISS DEFENDANT CAPITAL ONE, NATIONAL ASSOCIATION; PROPOSED

                                                  ORDER - 1
              Case 3:16-cv-05674-WHA Document 66 Filed 01/19/17 Page 2 of 2




1
     DATED: January 18, 2017                    Sagaria Law, P.C.
2

3                                               By:          /s/ Elliot W. Gale
                                                                      Elliot W. Gale
4
                                                Attorneys for Plaintiff
5                                               April Coyle
6
     DATED: January 18, 2017                    Doll Amir and Eley LLP
7

8

9                                               By:          /s/ Chelsea Diaz
10                                                                Chelsea Diaz
                                                Attorneys for Defendant
11
                                                Capital One, National Association
12

13

14
     I, Elliot Gale, am the ECF user whose identification and password are being used to file this
15
     Stipulation. I hereby attest that Chelsea Diaz has concurred in this filing.
16
     /s/ Elliot Gale
17

18

19                                            [PROPOSED] ORDER

20
             Pursuant to the stipulation of the Parties, Defendant Capital One, National Association is
21
     dismissed with prejudice as to plaintiff's claims only (i.e., without prejudice to any potential
22

23   cross-claims that might possibly be asserted later by co-defendants against Capital One).

24           IT IS SO ORDERED.
25
     DATED: January 19, 2017.
26                                                  William H. Alsup
27                                                  UNITED STATES DISTRICT JUDGE
28

        STIPULATION TO DISMISS DEFENDANT CAPITAL ONE, NATIONAL ASSOCIATION; PROPOSED

                                                  ORDER - 2
